  Case 15-40068          Doc 24     Filed 10/17/19 Entered 10/17/19 10:39:15           Desc Main
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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF MINNESOTA


 In re:
                                                                                         Chapter 7
 Julie Ann Holm,
                                                                                     BKY 15-40068
                    Debtor.


                                    NOTICE OF SETTLEMENT


TO:       The United States Trustee, all creditors, and other parties in interest.

        On November 11, 2019, or as soon thereafter as the transaction may be completed, the
trustee of the estate of the debtor named above will settle a controversy as follows:

        The debtor has a product liability claim related to a transvaginal mesh implant (the “Claim”).
The Claim is property of the bankruptcy estate, subject to the debtor’s exemption in the amount of
$30,000.00. The debtor and the bankruptcy estate received an offer to settle the Claim for a gross
award of $92,378.08 (the “Gross Settlement Amount”), with certain deductions and disbursements.
The settlement offer is conditional upon bankruptcy court approval and execution by the trustee and
the debtor of required release documentation.

      The following deductions and disbursements will be paid directly by the Settlement
Administrator administering the claim:

          $ 4,618                 5.00% Assessment Ordered by Multi-District Litigation Court in
                                  which product liability case is pending

          $18,214.97              Lien – Optum/UCare (Medicaid)

          $   534.84              Lien – Medicare

          $   675.00              Lien – Providio

       After deducting these directly paid amounts from the Gross Settlement Amount, the
remaining amount, less $1,245.60 previously paid to debtor’s counsel Wagstaff & Cartmell for
Wave Expenses, which equals $67,089.67 (the “Net Settlement Amount”), shall be paid by the
Settlement Administrator to Wagstaff & Cartmell. From that Net Settlement Amount, the
following payments of attorneys’ fees and expenses, totaling $36,522.55, shall be made, subject
to approval by the Court, by Wagstaff & Cartmell:

          $1,694.81      TorHoerman Case Specific Expenses

          $ 397.85       Wagstaff & Cartmell Pro Rata Unpaid Wave & General Expenses


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        $ 250.00        Providio QSF expense to be paid by Wagstaff & Cartmell

      $34,179.89        Attorney’s fees for Wagstaff & Cartmell and Tor Hoerman

       After payment of the attorneys’ fees and expenses, the remaining amount will be paid to the
bankruptcy estate. The trustee will pay the debtor her exemption of $30,000.00.

The debtor has a second product liability claim against a different manufacturer in which the estate
will be paid the entire net amount.

        The trustee believes this is a fair offer and in the best interest of the estate. The trustee and
the debtor/product liability plaintiff will release all claims against the Claim defendants and execute
such documents necessary to effectuate such release.

                              OBJECTION: MOTION: HEARING

       Under applicable rules, any objection must be in writing, be delivered to the trustee and
the United States Trustee, and be filed with the clerk, not later than 12:00 noon on the day before
the above date. If an objection is timely delivered and filed, the court will hold an expedited hearing
on the objection with reduced notice of the hearing. The hearing will be scheduled by the trustee
with notice by the trustee to the objecting party and the United States Trustee. If an objection is
made or an order is required, the undersigned trustee moves the court for such orders as may be
necessary and appropriate.

 Clerk of Court                           United States Trustee          Nauni Manty, Trustee
 United States Bankruptcy Court           1015 U.S. Courthouse           401 2nd Ave N, Ste 400
 300 South Fourth Street                  300 South Fourth Street        Minneapolis, MN 55401
 301 U.S. Courthouse                      Minneapolis, MN 55415
 Minneapolis, MN 55415

 Dated: October 17, 2019                          By: /e/ Nauni Manty
                                                      Nauni Manty, Trustee




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                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF MINNESOTA

IN RE: JULIE ANN HOLM                                           CASE NO: 15-40068
                                                                DECLARATION OF MAILING
                                                                CERTIFICATE OF SERVICE
                                                                Chapter: 7




On 10/17/2019, I did cause a copy of the following documents, described below,
Notice of Settlement




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.
Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically with the documents described herein per the ECF/PACER system.
DATED: 10/17/2019
                                                          /s/ Nauni J. Manty
                                                          Nauni J. Manty
                                                          Manty & Associates, P.A.
                                                          401 Second Ave. N., Suite 400
                                                          Minneapolis, MN 55401
                                                          612 465 0990
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                                        UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF MINNESOTA

 IN RE: JULIE ANN HOLM                                                  CASE NO: 15-40068

                                                                        CERTIFICATE OF SERVICE
                                                                        DECLARATION OF MAILING
                                                                        Chapter: 7




On 10/17/2019, a copy of the following documents, described below,

Notice of Settlement




were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient postage thereon
to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above referenced document
(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is true and correct to
the best of my knowledge, information, and belief.

DATED: 10/17/2019




                                                                            Jay S. Jump
                                                                            BK Attorney Services, LLC
                                                                            d/b/a certificateofservice.com, for
                                                                            Nauni J. Manty
                                                                            Manty & Associates, P.A.
                                                                            401 Second Ave. N., Suite 400
                                                                            Minneapolis, MN 55401
             Case AS
PARTIES DESIGNATED 15-40068      DocNOT
                      "EXCLUDE" WERE  24 SERVED
                                           FiledVIA
                                                  10/17/19
                                                    USPS FIRST Entered   10/17/19 10:39:15 Desc Main
                                                                CLASS MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM
                                             Document        Page 5 of 6
CASE INFO                                                                         EXCLUDE
                                         WELLS FARGO BANK NA
1LABEL MATRIX FOR LOCAL NOTICING         25 N DALE ST 2ND FLR                     MINNEAPOLIS
08644                                    ST PAUL MN 55102-2227                    301 US COURTHOUSE
CASE 15-40068                                                                     300 SOUTH FOURTH STREET
DISTRICT OF MINNESOTA                                                             MINNEAPOLIS MN 55415-1320
MINNEAPOLIS
THU OCT 17 09-45-00 CDT 2019



CAP1BSTBY                                CAPITAL MANAGEMENT SERVICES LP           CHASE
PO BOX 790441                            698 12 SOUTH ODGEN STREET                PO BOX 15298
ST LOUIS MO 63179-0441                   BUFFALO NY 14206-2317                    WILMINGTON DE 19850-5298




CITI                                     CITIBANK                                 CITIBANKTHE HOME DEPOT
PO BOX 6241                              PO BOX 790034                            CITICORP CREDIT SRVSCENTRALIZED
SIOUX FALLS SD 57117-6241                ST LOUIS MO 63179-0034                   BANKRUP
                                                                                  PO BOX 790040
                                                                                  SAINT LOUIS MO 63179-0040




CAPITAL ONE NA                           DISCOVER FIN SVCS LLC                    DISCOVER BANK
CO BECKET AND LEE LLP                    PO BOX 15316                             DISCOVER PRODUCTS INC
PO BOX 3001                              WILMINGTON DE 19850-5316                 PO BOX 3025
MALVERN PA 19355-0701                                                             NEW ALBANY OH 43054-3025




GECRB JC PENNEY                          GECRBAMAZON                              GEMBWALMART
ATTN BANKRUPTCY DEPT                     ATTN BANKRUPTCY                          ATTN BANKRUPTCY
PO BOX 103104                            PO BOX 103104                            PO BOX 103104
ROSWELL GA 30076-9104                    ROSWELL GA 30076-9104                    ROSWELL GA 30076-9104




INTERNAL REVENUE SERVICE                 KOHLSCAPONE                              MINNESOTA DEPARTMENT OF REVENUE
CENTRAL INSOLVENCY OPERATION             N56 W 17000 RIDGEWOOD DR                 BANKRUPTCY SECTION
PO BOX 7346                              MENOMONEE FALLS WI 53051-7096            PO BOX 64447
PHILADELPHIA PA 19101-7346                                                        SAINT PAUL MN 55164-0447




SCHILLER ADAM                            SEARSCBNA                                SYNCBAMAZON
25 NORTH DALE ST                         PO BOX 6497                              PO BOX 965015
ST PAUL MN 55102-2227                    SIOUX FALLS SD 57117-6497                ORLANDO FL 32896-5015




SYNCBHOME DESIGN HI P                    SYNCBHOME DSGN FLOORI                    SYNCBJC PENNEY DC
CO PO BOX 965036                         CO PO BOX 965036                         4125 WINDWARD PLAZA
ORLANDO FL 32896-0001                    ORLANDO FL 32896-0001                    ALPHARETTA GA 30005-8738




SYNCBWALMART                             THDCBNA                                  US BANK
PO BOX 965024                            PO BOX 6497                              PO BOX 5229
ORLANDO FL 32896-5024                    SIOUX FALLS SD 57117-6497                CINCINNATI OH 45201-5229
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PARTIES DESIGNATED 15-40068      DocNOT
                      "EXCLUDE" WERE  24 SERVED
                                           FiledVIA
                                                  10/17/19
                                                    USPS FIRST Entered   10/17/19 10:39:15 Desc Main
                                                                CLASS MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM
                                             Document        Page 6 of 6
EXCLUDE                                  WELLS FARGO                              WELLS FARGO CARD SER
US TRUSTEE                               PO BOX 14517                             1 HOME CAMPUS
1015 US COURTHOUSE                       DES MOINES IA 50306-3517                 3RD FLOOR
300 S 4TH ST                                                                      DES MOINES IA 50328-0001
MINNEAPOLIS MN 55415-3070




                                         DEBTOR                                   EXCLUDE
WELLS FARGO BANK NA
WELLS FARGO HOME MORTGAGE AMERICAS       JULIE ANN HOLM                           NAUNI JO MANTY
SERVICING                                831 ORANGE STREET                        MANTY ASSOCIATES PA
ATTN BANKRUPTCY DEPT MAC X7801-014       LINO LAKES MN 55014-2110                 401 SECOND AVENUE NORTH
3476 STATEVIEW BLVD                                                               SUITE 400
FORT MILL SC 29715-7203                                                           MINNEAPOLIS MN 55401-2097



EXCLUDE                                  TIMOTHY D MORATZKA
NICOLE L ANDERSON                        901 MARQUETTE AVE
1650 11TH AVE SW                         SUITE 1400
SUITE 203                                MINNEAPOLIS MN 55402-3264
FOREST LAKE MN 55025-2106
